Case 09-32467 Document 111 Filed in TXSB on 08/26/09 Page 1 of 3

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF TEXAS

 

HOUSTON DIVISION
IN RE: §
§
ROYCE HOMES, LP, § Case No. 09-32467-H4-7
§
Debtor. §
Affidavit of John H. Speer
Regarding Assets of Hammersmith Group, LLC

THE STATE OF TEXAS §
§
COUNTY OF HARRIS §

I, John H. Speer, being first duly sworn, hereby state that the following statements are
true and correct to the best of my knowledge and belief:

1. My name is John H. Speer and I am the sole manager and president of
Hammersmith Group, LLC, a Delaware limited liability company.

2. Hammersmith Group, Inc., a Delaware corporation, was formed April 28, 1998.

On December 30, 2008, Hammersmith Group, Inc. converted from a corporation
to a Delaware limited liability company and changed its name to Hammersmith
Group, LLC pursuant to Delaware law.

Go

4, As of this date, Hammersmith Group, LLC has the following ownership interests
in other entities:

(a) A 0.19% membership interest in Royce Homes Phoenix, LLC, a Delaware
limited liability company formed January 28, 1999;

(b) A 0.99% membership interest in Royce Homes Construction, LLC, a
Delaware limited liability company formed January 11, 2002;

(c) A 1.00% general partnership interest in Royce Model Homes, LP, a Texas
limited partnership formed April 7, 2000;

(d) A 1.00% general partnership interest in Royce Homes, LP, a Delaware
limited partnership formed June 30, 1998;

(e) A 1.00% general partnership interest in TCH Financial, LP, a Delaware
limited partnership formed August 4, 1999;

1 of 3
1633967v5
1633967v5

Case 09-32467 Document 111 Filed in TXSB on 08/26/09 Page 2 of 3

(f) A 0.1% general partnership interest in TCH Land, LP, a Delaware limited
partnership formed August 4, 1999;

(g) A 0.1% general partnership interest in Texas Colonial Homes, LP, a
Delaware limited partnership formed August 4, 1999;

(h) A 0.1% general partnership interest in Royce Homes-Dallas, LP, a
Delaware limited partnership formed December 2, 2002;

(i) A 0.1% membership interest in Royce Homes-Atlanta, LLC, a Delaware
limited liability company formed April 25, 2002;

Gj) A 100% membership interest in Ashford Gardens Management, LLC, a
Texas limited liability company formed February 13, 2003;

(k) One hundred units representing a 1.00% membership interest in
Watermark Tortuga, LLC, a Delaware limited liability company;

(1) A 1% general partnership interesting Hammersmith Financial, LP, a
Delaware limited partnership formed June 30, 1998; and

(m) A 1% general partnership interest in Tortuga Builders, LP, a Texas limited
partnership formed June 10, 2008.

5. Hammersmith Group, LLC has the following assets in addition to the ownership
interests set forth in the immediately preceding section:

(a) Rights and claims, including rights to any distributions for the value of its
general partnership interest (estimated to be zero), as a former general
partner of Park Lake Communities, LP, a Texas limited partnership
formed January 15, 1999, and Royce Operating, LP, a Delaware limited
partnership formed September 15, 2006; and

(b) A bank account at Amegy Bank, NA, account number 192775, with a
balance of $6,323.48 and goodwill in Royce Homes, LP in the amount of
$40,733.34.

(c) Hammersmith Group, LLC is responsible for the debts, liabilities and
obligations of each limited partnership in which it is or was a general
partner, including the partnerships listed in sections 4 and 5 above.

ITH GROUP, LLC

   
 

 

eer, Sole Manager and President

 

SUBSCRIBED and SWORN toefore me this A u day of A AC AKST, 2009.

2 of 3
Case 09-32467 Document 111 \Filed in TXSB on 08/26/09 Page 3 of 3

‘ * { \ .
sect ss ) Q Xe \ U4 A

 

 

  
  

   

  

gets TERIE ASHORN Notary Public in and for the State of Texas

Notary Public
wed STATE OF TEXAS
Lesa My Comm. Exp. 8-14-2011

 

 

 

 

3 of 3
1633967v5
